        Case 6:11-cr-10161-EFM           Document 78        Filed 02/23/12      Page 1 of 1




                         IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF KANSAS


 United States of America,
                        Plaintiff,


                        vs.                                Case No. 11-10161–03-JTM


 Sergio R. Little,
                        Defendant.




                                 MEMORANDUM AND ORDER


       This matter is before the court on the government’s Motion to Consume Physical Evidence,

the government seeking leave to conduct potentially destructive DNA testing on the small sample

in its possession as to defendant Sergio Little. The court has previously granted the government’s

motion (Dkt. 62), which sought leave to conduct similar DNA testing as co-defendant Willie

Jackson. For the reasons stated more fully in its previous Order (Dkt. 64), the court finds good cause

for the government’s motion. Given the absence of any indicia of bad faith, the motion to consume

(Dkt. 68) is hereby granted.

       IT IS SO ORDERED this 22nd day of February, 2012.



                                                       s/ J. Thomas Marten
                                                      J. THOMAS MARTEN, JUDGE
